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                                UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF LOUISIANA

 UNITED STATES OF AMERICA                                         CRIMINAL NO. 20-99

 VERSUS                                                           SECTION : L (3)

 HENRY J. TIMOTHY                                                 VIOLATION: 26 USC 7206(1)

                              NOTICE OF SENTENCING (from 12/2/21)

Take Notice that this criminal case has been set SENTENCING on THURSDAY, MARCH 3, 2022 AT
2:00PM, before Judge Eldon E. Fallon, Courtroom C-468, 500 Poydras Street, New Orleans, LA 70130.

Sentence must comply with the deadlines established in LCrR 32.1.1E regarding the submission of
motions or letters requesting departures from the Sentencing Guidelines.

Note: Photo I.D. is required to enter the building.
Persons on bond must report to the Deputy U.S. Marshal immediately outside the aforesaid courtroom for
evaluation and search 15 minutes prior to appearance.

                                                      CAROL L. MICHEL, CLERK
 Date: August 9, 2021
                                                      by: Dean Oser, Deputy Clerk
 TO:
                                                      AUSA: David Ayo and Kelly Uebinger (WDLA
 HENRY J. TIMOTHY -         BOND                      Lafayette)
 Stephen London, Esq.
 ebyte2@aol.com                                       U.S. Marshal

                                                      U.S. Probation Officer

 Internal Revenue Service                             U.S. Probation Office - Pretrial Services Unit
 SA Lori Marable
                                                      JUDGE

                                                      MAGISTRATE
 If you change address,
 notify clerk of court                                COURT REPORTER COORDINATOR
 by phone, 504-589-7686                               INTERPRETER: None
